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         UNITED STATES DISTRJCT COURT
         SOUTHERN DISTRICT OF NEW YORK


          Hernandez



                                        Plaintiff,                     Case No.
                                                                  JI     Civ. 06951   (KMK)(        )
                 -V-
                                                                       CASE MANAGEMENT AND
         Yonkers Brewing Company LLC et al                             SCHEDULING ORDER


                                        Defendant.


         KENNETH M. KARAS, District Judge:

                               At the conference before the Court held on 12/2/2021                this
         Case Management Plan and Scheduling Order was adopted in accordance with Rules 16-26(£) of the
         Federal Rules of Civil Procedure.


         1.            This case (is) (is not) to be tried to a jury [circle one].

         2.            No additional parties may be joined except with leave of the Court.

         3.            Amended pleadings may not be filed except with leave of the Court.

         4.            Initial disclosure pursuant to Rule 26(a)(l), Fed. R. Civ. P., will be completed not
                       later than      12/16/2021              [absent exceptional circumstances, within
                       fourteen (14) days of the date of the parties' conference pursuant to Rule 26(f)].

         5.            All fact discovery is to be completed no later than 4/1/2022                    [a
                       period not to exceed 120 days unless the Court finds that the case presents unique
                       complexities or other exceptional circumstances].

         6.            The parties are to conduct discovery in accordance with the Federal Rules of Civil
                       Procedure and the Local Rules of the Southern District of New York. The
                       fallowing interim deadlines may be extended by the parties on consent without
                       application to the Court, provided the parties meet the fact discovery completion
                       date in paragraph 6 above:
                                                                                               11312022
                        a.     Initial requests for production of documents to be served by
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                    b.    Interrogatories to be served by 1/3/2022
                                                          ---------
                                 . .                         2/25/2022
                    c.    Depos1t10ns to be completed by _ _ _ _ _ _ __

                          i.      Unless the parties agree or the Court so orders, depositions are not
                          to be held until all parties have responded to initial requests for document
                          production.

                          ii.     There is no priority in deposition by reason of a party's status as
                          plaintiff or defendant.

                          iii.   Unless the parties agree or the Court so orders, non-party
                          depositions shall follow initial party depositions.
                                                                           1/3/2022
                    d.    Requests to Admit to be served no later than - - - - - - - - -

         7.        All expert disclosures, including reports, production of underlying documents and
                   depositions are to be completed by:

                    a.    Expert(s) of Plaintiff(s) _ _ _n1_a_ _ _ _ _.

                    b.    Expert(s) of Defendant(s)_ _ _nl_a_ _ _ __

         8.        Motions: All motions and applications shall be governed by the Court's
                   Individual Practices, including pre-motion conference requirements. Summary
                   Judgment or other dispositive motions are due at the close of discovery. Pursuant
                   to the undersigned's Individual Practices, the parties shall request a pre-motion
                   conference in writing at least two (2) weeks prior to this deadline.

         9.        All counsel must meet for at least one hour to discuss settlement not later than
                   two weeks following the close of fact discovery.

         10.        a.    Counsel for the parties have discussed holding a settlement conference
                          before a Magistrate Judge.

                    b.    The parties (request) (do not request) a settlement conference before a
                          United States Magistrate Judge [circle one].

         11.        a.    Counsel for the parties have discussed the use of the Court's Mediation
                          Pro~am. _ _              _ ______ _

                    b.    The parties (request) (do not request) that the case be referred to the
                          Court's Mediation Program [circle one].


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         12.       a.        Counsel for the parties have discussed the use of a privately-retained
                             mediator.

                   b.        The parties (intend) (do not intend) to use a privately-retained mediator
                             [circle one].

         13.       The parties shall submit a Joint Pretrial Order prepared in accordance with the
                   undersigned's Individual Practices and Rule 26(a)(3), Fed.R.Civ.P. If this action
                   is to be tried before a jury, proposed voir dire,jury instructions and a verdict form
                   shall be filed with the Joint Pretrial Order. Counsel are required to meet and
                   confer on jury instructions and verdict form in an effort to make an agreed upon
                   submission.

         14.       Parties have conferred and their present best estimate of the length of trial is
                        2-3 days




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l______ _
            TO BE COMPLETED BY THE COURT:


            15.           [Other directions to the parties:]

            There will be no extensions of the deadline for completion of discovery past the date
            discovery is scheduled to be completed in this Order without the permission of the Court,
            nor should counsel assume that any extensions will be granted. Counsel may seek
            permission for extension of interim discovery deadlines from the magistrate judge to whom
            the case is referred. Counsel may seek permission for an extension of the deadline for
            completion of discovery past the date discovery is scheduled to be completed in this Order
            only after consenting to allowing the magistrate judge to handle the case for all purposes.

            16.           The next Case Management Conference is scheduled for May 5, 2022 at 12 :00
                          p.m.


                          The movant's pre-motion letter is due April 20, 2022

                          The non-movant's response is due April 27, 2022



            SO ORDERED.

            DATED: December 2, 2021
                      White Plains, New York




                                                                           KENNETH M. KARAS
                                                                      UNITED STATES DISTRICT JUDGE




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